                        UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF OREGON

 In re
 Three J's Distributing Inc.              Case No.  18-32288-pcm7
                                            Amended

                                          NOTICE OF INTENT TO SELL REAL OR
                                          PERSONAL PROPERTY, COMPENSATE
                                          REAL ESTATE BROKER, AND/OR PAY
                                          ANY SECURED CREDITOR’S FEES AND
                                          COSTS; MOTION FOR AUTHORITY TO
                                          SELL PROPERTY FREE AND CLEAR OF
                                          LIENS; AND NOTICE OF HEARING
                                          (Note: Do not use to sell personally
                                          identifiable information about individuals.)
 Debtor(s)

NOTICE IS GIVEN that                Rodolfo A. Camacho            , the      Trustee
(debtor, trustee, etc.), intends to sell the property described below and moves for authority
to sell the property free and clear of liens under 11 U.S.C. § 363(f) and the guidelines set
forth in Local Bankruptcy Form 363, Procedures re: Motions for Sale of All or Substantially
All Assets. The movant's name, address, and phone number are:
Rodolfo A. Camacho
PO Box 13897, Salem, OR 97301

If you wish to object to any aspect of the sale or fees disclosed in paragraph 7 or 15, you
must:

1. Attend the hearing set in paragraph 16 below; and
2. Within 21 days after the later of the date next to the signature below or the service
   date in paragraph 17 below, file with the clerk at 1050 SW 6th Ave. #700, Portland OR
   97204 or 405 E 8th Ave. #2600, Eugene OR 97401:
   a. a written objection stating the specific facts upon which the objection is based, and
   b. a certificate of service of the objection on the movant.

This document constitutes the notice required by Local Bankruptcy Rule (LBR) 2002-1.
All sections must be completed.

1. The specific subsections of 11 U.S.C. § 363(f) movant relies on for authority to sell the
   property free and clear of liens are:
11 U.S.C. § 363(f)(2) pursuant to settlement with Farmer Bros (ECF 121). Alternatively,
11 U.S.C. § 363(f)(4) because lien of Farmer Bros. is in bona fide dispute (Adv. Proc.
20-03063).



760.5 (12/1/2019)                       Page 1 of 4

                    Case 18-32288-pcm7       Doc 131     Filed 10/09/20
2. Buyer's name & relation to debtor:
   Clackamas County Property, LLC. No relation to Debtor.


3. General description of the property (if real property, state street address here. Also
   attach legal description as an exhibit to the notice filed with the court):
   9812 SE Elon Street, Clackamas, OR 97015. See attached Exhibit A for legal
   description of real property.



4. A copy of the full property description or inventory may be examined or obtained at:
   By contacting Jorge Hasbun at 503-515-5511 to make arrangements.



5. The property may be previewed at (include time and place):
   By contacting Jorge Hasbun at 503-515-5511 to make arrangements.


6. Other parties to the transaction and their relationship to the debtor are:
   None.




7. The gross sale price is: $           $540,000.00            .

   All liens on the property total $        1,028,538.10     , of which movant believes a
   total of $       811,884.72         need not be paid as secured claims (because the lien
   is invalid, avoidable, etc., the lienholder consents to less than full payment, or part or
   all of the underlying debt is not allowable).

   Secured creditor(s) also seek(s) reimbursement of $               0.00       for fees and
   costs.

   Total sales costs will be: $          74,400.00             .

   All tax consequences have been considered, and it presently appears that the sale will
   result in net proceeds to the estate after payment of valid liens, fees, costs, and taxes
   of approximately: $        248,946.62       .

8. The sale    is    is not (mark one) of substantially all of the debtor's assets. Terms
   and conditions of sale:
   $540,000.00 Purchase Price
   6% Broker Fee (2.7% Seller and 3.3% Buyer)
   Sale estimated to generate $42,000.00 in tax liability
   Sale contingent on Bankruptcy Court approval
   Closing to occur 10 days after order approving sale


760.5 (12/1/2019)                       Page 2 of 4

                    Case 18-32288-pcm7       Doc 131        Filed 10/09/20
    9. Competing bids must be submitted to the movant no later than    10/27/2020    and
       must exceed the above offer by at least    $25,000.00        and be on the same or
       more favorable terms to the estate.

   10. Summary of all available information regarding valuation, including any independent
       appraisals:
        There is no recent comparable sales data. There have been no recent independent
        appraisals of the property.




   11. If paragraph 7 indicates little or no equity for the estate, the reason for the sale is:
        N/A


        and expenses and taxes resulting from the sale will be paid as follows:



   12. (Chapter 11 cases only) The reason for proposing the sale before confirmation of a
       plan of reorganization is:
        N/A


   13. The following information relates to lienholders (who are listed in priority order):

                                                                                        Indicate Treatment
                                                                             Approx.
                                           Service Address                                at Closing (Fully
        Name                                                                  Lien
                                          (See FRBP 7004)                                  Paid, Partially
                                                                             Amount
                                                                                        Paid, or Not Paid.)
                         B. Scott Whipple
Farmer Bros. Co.         Whipple Law Office, LLC
                                                                          $75,000.00    Paid in accordance
                         1675 Marlow, Avenue, Suite 201                                 with settlement
                         Portland, Oregon
                         Dolores Broeske
HAPO Community Credit    President/CEO                                    $132,590.68   Paid in full
Union                    HAPO Community Credit Union
                         601 Williams Blvd.
                         Richland, WA 99352
                         Clackamas County Tax
Clackamas County         150 Beavercreek Road
                                                                          $9,062.70     Paid in full
                         Oregon City, OR 97045




   14. Any liens not fully paid at closing will attach to the sale proceeds in the same order of
       priority they attach to the property. Any proceeds remaining after paying liens,
       expenses, taxes, commissions, fees, costs, or other charges as provided in this
       motion, must be held in trust until the court orders payment.

   15. (If real property) The court appointed real estate broker, Jorge Hasbun                         ,
       will be paid $14,580 (2.7% of gross sale price).                                                .



     760.5 (12/1/2019)                                 Page 3 of 4

                         Case 18-32288-pcm7                 Doc 131   Filed 10/09/20
16. A hearing on this motion and any objections to the sale or fees is scheduled as follows:
    Date:    10/30/2020      Time: 1:30 p.m. Location: Telephonic
     Dial-in 888-684-8852; Access Code: 1238244
    Testimony will be received if offered and admissible. If no timely objection is filed, the
    hearing may be canceled and an order submitted. Parties are encouraged to check
    the hearing calendar at https://www.orb.uscourts.gov after the objection deadline has
    passed.

17. I certify that on    10/09/2020      this document was served, under FRBP 7004, on the
    debtor(s), trustee (if any), U.S. Trustee, each named lienholder at the address listed
    above, the creditors' committee chairperson (if any), and their attorneys; and (unless
    movant is a chapter 7 trustee) that it was also sent on that date, pursuant to FRBP
    2002(a), to all creditors and all parties as listed in the court’s records that were
    obtained on                     , a copy of which is attached to the document filed with
    the court.

18. For further information, contact: David Criswell, Counsel to Trustee
     Phone: 503-778-2198       Email: CriswellD@lanepowell.com



          10/09/2020                        /s/ David W. Criswell, Counsel to Trustee
 Date                                      Signature & Relation to Movant

                                           Debtor’s Taxpayer ID#(s) (last 4 digits)
                                           (If debtor is movant)




 760.5 (12/1/2019)                       Page 4 of 4

                       Case 18-32288-pcm7     Doc 131     Filed 10/09/20
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                          Case 18-32288-pcm7          Doc 131     Filed 10/09/20
                        SUPPLEMENTAL CERTIFICATE OF SERVICE

         I hereby certify that on October 9, 2020, I caused to be served a copy of the foregoing

NOTICE OF INTENT TO SELL REAL OR PERSONAL PROPERTY, COMPENSATE REAL

ESTATE BROKER, AND/OR PAY ANY SECURED CREDITOR’S FEES AND COSTS;

MOTION FOR AUTHORITY TO SELL PROPERTY FREE AND CLEAR OF LIENS; AND

NOTICE OF HEARING on the following person(s) in the manner indicated below at the following

address(es):

 Dolores Broeske                                       by CM/ECF
 President/CEO                                         by Electronic Mail (courtesy copy)
 HAPO Headquarters                                     by Facsimile Transmission
 601 Williams Blvd.                                    by First Class Mail
 Richland, WA 99354                                    by Hand Delivery
                                                       by Certified Mail Return Receipt
                                                        Requested
 David M. Blanc                                        by CM/ECF
 The Blanc Firm, LLC                                   by Electronic Mail (courtesy copy)
 39 SE Court Ave.                                      by Facsimile Transmission
 Pendleton, OR 97801                                   by First Class Mail
 dblanc@blancfirm.com                                  by Hand Delivery
                                                       by Certified Mail Return Receipt
                                                        Requested



                                                  /s/ David W. Criswell
                                                 David W. Criswell




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                        Case 18-32288-pcm7      Doc 131     Filed 10/09/20
